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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                                  Plaintiff,

  v.                                                       Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                                  Defendants.




           DEFENDANTS’ NOTICE OF THE PRESIDENT’S DESIGNATION
                       OF ACTING SPECIAL COUNSEL
       Undersigned counsel respectfully notifies the Court that in the afternoon on Tuesday,

February 11, 2025, the President designated the Secretary of Veterans Affairs, Doug Collins, to serve

as Acting Special Counsel. As the Department of Justice explained in its filing in the United States

Court of Appeals on Wednesday, February 12, 2025, this Court’s administrative stay “makes it

impossible for the office to be filled by the presidential designee.” Defendants-Appellants’ Reply in

Support of Emergency Mot. for Stay Pending Appeal, Dellinger v. Bessent, et al., No. 25-5025, at 8 and

n.1 (Feb. 12, 2025); see also February 10, 2025 Minute Order (Defendants “may not . . . recognize the

authority of any other person as Special Counsel[.]”).

Dated: February 12, 2025                                 Respectfully submitted,

                                                         BRETT A. SHUMATE
                                                         Acting Assistant Attorney General

                                                         /s/ Christopher R. Hall
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